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mwe.com

Brian Cousin
Attorney at Law
bcousin@mwe.com
+1 212 547 5420

 

October 18, 2019

VIA EMAIL (Lehrburger_NYSDChambers@nysd.uscourts.gov)

Honorable Robert W. Lehrburger, U.S.M.J.

United States District Court for the Southern District of New York
United States Courthouse

500 Pearl Street

New York, NY 10007

Re: Michael Dardashtian, et al. v. David Gitman, et al., C.A. No. 17-cv-4327
Dear Judge Lehrburger:

We write in response to the letter, dated October 12, 2019 (ECF No. 113), from plaintiffs and
counterclaim-defendants’ counsel concerning our Motion to Withdraw as counsel.

First, as a preliminary matter, attorneys Lindsay F. Ditlow, Esq. and Mark D. Meredith, Esq. each are
filing today their separate motions to withdraw as counsel at the request of the Court. We hope that this
will clarify any confusion. Ms. Ditlow and Mr. Meredith were intended to be included in the original
motion to withdraw filed on behalf of Dentons US LLP (“Dentons”’) on September 27, 2019 (ECF No.
111).

Second, Ms. Ditlow, Mr. Meredith and I are no longer associated with Dentons. Mr. Gitman’s files
remain at Dentons. As such, we do not currently have access to Mr. Gitman’s files or documents, and
we have not had access since early October 2019, when we each departed Dentons. Neither I, nor Ms.
Ditlow nor Mr. Meredith recall the existence of any such documents of the kind referred to in opposing
counsel’s letter. However, we have forwarded opposing counsel’s letter to Dentons’ general counsel
and advised Dentons that we would inform the Court that we were no longer affiliated with Dentons.
We have also asked Dentons whether they would like to respond further.

M Cc De rm ott 340 Madison Avenue New York NY 10173-1922 Tel +1 2125475400 Fax +1 212 547 5444
Wil | & E e r US practice conducted through McDermott Will & Emery LLP.

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Finally, in light of the above, we request that the Court grant all motions to withdraw as counsel without
imposing any of the conditions requested by opposing counsel.

 

Brian S. Cousin
Lindsay F. Ditlow
Mark D. Meredith

McDermott
Will & Emery

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